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       ORIG INAL       IN THE UNITED STATES DISTRICT COURT
                                                                                       DEC 1 4 2004
                       FOR THE NORTHERN DISTRICT OF GEORGIA                       ''79 ~`~-} f~
                                                                                             .. .   ,
                                      ATLANTA DIVISION                           ' "-       "   ?` .'F,.;, v r_r.t,



UNITED STATES OF AMERICA
                                                               CRIMINAL INDICTMENT
                 v.

JAMES HERMAN BARTHOLOMAI,                                      NQ .     w    04 - C R - 6 2 6
                                                                                                                      r


                       Defendant .




THE GRAND JURY CHARGES THAT


                                            COUNT ONE

       On   or   about      August     26,    2004,       in   the    Northern    District                of

Georgia,    the defendant, JAMES HERMAN BARTHOLOMAI, did knowingly and

willfully make a true threat to take the lives of the President and

Vice   President       of    the    United    States,       by knowingly and wilfully

causing     to   be   deposited       for    conveyance        in the    mail    to    the Court

Clerk ofComanche County, Oklahoma, a letter, writing,                             and document

containing the following statements :                      °A darkness is upon America,

a   darkness      with       names     (George       W.    Bush,      Dick   Cheney,            Donald

Rumsfeld,     John Ashcroft and Co in Powell) .                       I am the avenger--the

light of chosen .           On 27 January 2005 a terror and an act of treason

shall begin .         These five will         [be]   my targets of termination,                         with

their death my quest               to bring down the American government" ;                              and

signed,     "James Bartholomai #03999-063,"                    in violation of Title 18,

United States Code,           Section 871(a) .
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                                          COUNT TWO

       On or about September             15,    2004,             in the Northern District of

Georgia,    the defendant, JAMES HERMAN BARTHOLOMAI, did knowingly and

willfully make a true threat to take the lives of the President and

Vice    President     o£     the United        States,             by               knowingly and                wilfully

causing    to   be    sent     to    federal        officials                            at       the     United     States

Penitentiary,        Atlanta,       Georgia,        a    letter,                         writing,          and     document

containing the        following statement :                       " .       .        .    now FFNB              [Foundation

for New Beginnings)           is    informing you             .         .       .    of our list of targets

for    termination     and destructions                 to    begin on 27                             January       [20105 .

Persons--Pres . George W .           Bush, V .P . D .             Cheney,                     .   .   .   ." ; and signed

"James     H.   Bartholomai            #0399-063,                 FFNB                   Founder/General,,,               in

violation of Title 18,             United Sates Code,                                Section 871(a) .




                                        COUNT THREE

       On or about         September     29,    2004,             in the Northern District of

Georgia, the defendant, JAMES HERMAN BARTHOLOMAI, did knowingly and

willfully make a true threat to take the lives of the President and

Vice   President      of     the   United      States,             by            knowingly                and    willfully

staffing   to   Max    L .     Poux,    Special              Agent,                      United           States     Secret

Service, that, upon being released from prison on January 27,                                                         2005,

defendant will kill the President and Vice President of the United

States,    or words to that          effect,        in violation of Title 18,                                       United

States Code,    Section 871(a) .



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                                                  COUNT FOUR

        On   or     about       August       25,     2004,        in    the    Northern        District      of

Georgia,      the defendant, JAMES HERMAN BARTH4L4MAI,                                   did threaten to

assault and murder U .S .               Secretary of Defense Donald Rumsfeld, U .S .

Attorney General John Ashcraft,                         and U .S .       Secretary of State Calm,

Powell,      with       intent     to    impede,            intimidate,           interfere      with,      and

retaliate against said individuals while each of them was engaged

in,   and on account             of     the performance of                each of            their official

duties,      by    knowingly          and    willfully            causing         to    be   deposited . for

conveyance         in    the    mail     to       the    Court         Clerk      of    Cornanche     County,

Oklahoma,         a letter,      writing,          and document containing the following

statements :            "A darkness          is    upon America,              a   darkness      with names

(George      W.    Bush,    Dick Cheney,             Donald Rumsfeld,                  John Ashcroft and

Colin Powell) .             I    am    the    avenger--the              light      of    chosen .      On   27

January 2005         a   terror        and an act            of   treason         shall begin .        These

five will         [be] my targets of termination, with their death my quest

to    bring       down     the        American          government" ;             and     signed,      "James

$arthalomai         #03999-a63,"            in violation of Title                      18,   United    States

Code,    Section 115(a)(1)(13) .




                                               COUNT FIVE

        On or about September                  15,      2044,      in the Northern District of

Georgia,      the defendant,            JAMES HERMAN BARTHOLQMAI,                        did threaten to

assault and murder U .S .               Secretary of Defense Donald Rumsfeld,                            U .S .



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Attorney General John Ashcroft,                               and U .S .   Secretary of State Colin

Pawell,             with     intent          to    impede,        intimidate,     interfere            with,      and

retaliate against                   said individuals while each of them was engaged

in,           and on account            of    the    performance        of   each         of    their official

duties,             by knowingly and wilfully causing to be                                    sent    to   federal

officials at                the United States                Penitentiary,           Atlanta,          Georgia,      a

letter,             writing,       and document containing the following statement :

" .       .    . now FFN$         [Foundation for New Beginnings]                     is informing you               .

.     .       of    our    list    of    targets        for       termination     and          destructions        to

begin on 27 January                     [20]05 .      Persons--Pres . George W . Bush,                      V .P . D .

Cheney,             D.    Rumsfeld,      C.       Powell,     J.    Ashcxoft,    .    .    .    ." ;   and signed

"James              H.     Bartholomai              #0399-053,        FFNB      Founder/Genera?,"                  in

violation of                Title       18,       United States Code,           Section          115 (a) (1) (B) .




                                                      COUNT SIX

              On or about September 29,                      2004,    in the Northern District                     of

Georgia,             the defendant,               JAMES HERMAN BARTHOLOMAI,                    did threaten to

assault and murder U .S .                         Secretary of Defense Donald Rumsfeld, U .S .

Attorney General John Ashcroft,                               and U .S .   Secretary of State Calin

Powell,             with    intent        to       impede,        intimidate,    interfere             with,     anal

retaliate against said individuals while each of them was engaged

in,           and   on    account       of    the    performance of          each of           their official

duties, by knowingly and willfully stating to Max L .                                            Poux,      Special

Agent, United States Secret Service,                                 that, upon being released from



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 prison on January 27,        2005,   defendant will   kill U .S .   Secretary of

 Defense Donald Rumsfeld,        U .S .   Attorney General John Ashcroft,     and

 U .S .   Secretary of State Coin Powell,         or words to that effect,     in

 violation of Title 18,        United States Code,     Section 11S(a)(1)(B) .




                                SPECIAL FINDINGS

          With respect to the conduct charged in this indictment :

          1.    the offense involved conduct evidencing an intent

                to carry out the threat charged ;      and

          2.    the offense involved more than two threats .




                                          A                                BILL




                                                  fC?1~EP~ERSON
                                                      1/


DAVID E . NAHMIAS
United States Attorney




tI E WILCOX SWIFT"/,
Assistant United States Attorney
600 U .S . Courthouse
75 Spring Street, S .W .
Atlanta, Georgia 30303
404/581-6305
FAX 404/581-6181
Georgia Bar No . 758450




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